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                     ATTORNEY/CLIENT RETAINER AGREEMENT

       Chad J. Christensen and Katherine H. Christensen (hereinafter referred to as “Client”)
agrees to retain Matthew G. Bennett (hereinafter referred to as “Attorney”), of the law firm of
Foley Freeman, PLLC (hereinafter referred to as “Firm”), as attorney to represent Client in a
chapter 7 bankruptcy, with the following understanding:

1.     That Attorney will record time in tenths of hours and keep accurate time records. Client
       will pay a single flat fee of $3,000.00 received before the filing of the case which shall
       serve as payment for services through the initial 341 Meeting of Creditors.

2.     Thereafter, the Attorney will record time in tenths of hours at the rate of $295.00 per hour,
       and keep accurate time records. Where appropriate, Attorney may delegate certain duties
       to other Firm attorneys, associates, or paralegals at rates that shall not exceed Attorney’s
       hourly rate.

3.     It is further understood and agreed that any billing not brought current (or satisfactory
       arrangement otherwise made) by the 30th of the month following billing, or prior to the
       scheduling of hearing in the matter, whichever comes first, that the client agrees to the
       withdrawal of Matthew G. Bennett as attorney of record in the matter.

4.     Client is responsible for paying all necessary costs, which may include filing fees, postage,
       service of process charges, reporters and transcriber’s fees, copy charges, delivery fees,
       investigators, experts and expert witnesses, travel and all such expenses. Client shall pay
       all third parties directly. If Attorney agrees to advance costs, Client agrees to reimburse
       Firm on demand.

5.     Client acknowledges that the Firm is not allowed to accept a credit card payment for
       attorney’s fees from a debtor/bankruptcy client who intends to list such payment of fees on
       a credit card as a debt in a bankruptcy proceeding.

6.     In exchange for such payment I understand the attorney will provide the following services:

       (a)    provide advice and counsel in connection with my/our bankruptcy filing;
       (b)    prepare all schedules and statement of financial affairs;
       (c)    attend the meeting of creditors or assure another attorney familiar with my case and
              filing will attend;
       (d)    conduct communication with the Court and my/our Trustee, or as necessary;
       (e)    assist in the review and where appropriate completion of reaffirmation agreements.
       (f)    provide advice and counsel in connection with my/our reaffirmation agreements

7.     In connection with a reaffirmation agreement signed by me/us, I understand that if I default
       on the payment or other terms of that or the underlying contract and the creditor liquidates
       the collateral to the agreement but is not paid the entire debt owed, I can be held liable by
       the creditor, for that deficiency balance.



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8.    Client(s) will be truthful and cooperative with Law Firm; keep Law Firm reasonably
      informed of developments and of Client’s address, telephone numbers and whereabouts;
      and timely make any payments required by this agreement.
9.    Time is of the essence in this Agreement. In the event of any litigation between the parties
      concerning this Agreement, the unsuccessful party in such litigation shall fully reimburse
      the prevailing party for all costs and expenses, including reasonable attorney's fees,
      incurred in such litigation.

10.   This Agreement shall be governed by and construed in accordance with the laws of the
      state of Idaho. Hand-written provisions inserted in this Agreement and initialed by the
      parties in ink shall control all type-written provisions in conflict therewith. This Agreement
      shall ensure to the benefit of and be binding upon the parties hereto and their respective
      successors and assigns.

11.   CLIENT AGREES THAT NEITHER Matthew G. Bennett NOR FIRM HAVE MADE
      ANY REPRESENTATIONS OF ANY KIND AS TO THE OUTCOME OF THIS CASE
      AND HAVE NOT EXPRESSED ANY OPINION AS TO WHETHER CLIENT MIGHT
      PREVAIL IN THIS MATTER.

12.   Firm will send Client a letter at the conclusion of Firm’s representation; Client agrees to
      retrieve all original documents from Firm within fourteen (14) days, or a retrieval fee of
      $15.00 will be charged to retrieve files from storage.

13.   All physical files will be destroyed two (2) years from the date Firm’s representation is
      concluded.

14.   For Client’s convenience, Attorney has created a portal through LawPay, a safe and secure
      credit card portal designed for lawyers, allowing Client to pay bills and replenish retainers
      online. Client shall not be charged any fee for credit card use, and no fees are deducted
      from funds deposited into Attorney’s trust account.

15.   It is further understood and agreed that if Client, or any third party paying fees for Client,
      pays such fees through the use of a debit card, credit card, or other electronic means, such
      payments cannot be revoked or reversed in any manner by Client.

16.   No Refund Policy. Client understands that fees paid with a credit card are not subject to a
      right by Client to a credit card refund or chargeback after legal services are performed.
      Refunds, when appropriate, shall be paid by check or other electronic transfer from
      Attorney to Client.




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